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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


  JAMES H. ERINAKES, Individually and as :
  Executor of the Estate of Charles H. Erinakes :
                                                :
                 v.                             :                 C.A. No.:
                                                :
  UNITED STATES OF AMERICA;                     :
  JOHN/JANE DOE CORPORATION, Alias :
  and JOHN/JANE DOE, MD, Alias                  :


                                         COMPLAINT

                                             PARTIES

          1.      James H. Erinakes brings this claim individually and as Executor of the Estate

  of Charles H. Erinakes. He is a citizen and resident of West Warwick, Rhode Island and of

  the Unites States of America.

          2.      Defendant United States of America is the party being sued for the acts and/or

  omissions of the United States Veterans Affairs Medical Centers.

          3.      Defendant John/Jane Doe Corporation, Alias, upon information and belief is

  a corporation existing under the laws of Rhode Island with a principal place of business herein.

  The true name of the defendant corporation is unknown to plaintiffs who will seek leave to

  amend their complaint to state the true name of defendant John/Jane Doe Corporation when

  such has been ascertained.

          4.      Defendant, John/Jane Doe, MD, Alias, are, upon information and belief,

  citizens and residents of the State of Rhode Island. The true names of said defendants are

  unknown to plaintiffs, who consequently sue such defendants by said fictitious names.

  Plaintiffs will seek leave to amend their Complaint to state defendants' true names when such
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  have been ascertained. At all times mentioned herein, said defendants were agents, apparent

  agents, and/or employees of John/Jane Doe Corporation, Alias.

                                  VENUE AND JURISDICTION

          5.     Venue is proper in that all, or a substantial part of the acts and omissions

  forming the basis of these claims occurred in the District of Rhode Island. Additionally,

  Plaintiff resides in Rhode Island and bring this complaint in the United States District Court

  where he resides.

          6.     Certain claims herein are brought against the United States pursuant to the

  Federal Tort Claims Act, 28 U.S.C. §§ 1346(b); 2671-2680.

          7.     Pursuant to 28 U.S.C. § 1346(b) and 28 U.S.C. § 2675, the claims herein against

  the United States were presented to the Department of Veterans Affairs on December 10,

  2014.   The Department of Veterans Affairs failed to make a decision on plaintiff’s

  administrative claim within the time provided for by law. Accordingly, a constructive denial of

  the claim has occurred.

                                         COUNT I
                                       NEGLIGENCE
                                 UNITED STATES OF AMERICA

          1.     On or about September, 2011, the United States Veterans Affairs Medical

  Centers, by and through its agents, actors and employees, undertook for valuable

  consideration to diagnose, treat, and care for Charles H. Erinakes.

          2.     It then and there became and was the duty of defendant United States of

  America, by and through its agents, actors and employees, to exercise ordinary care in the

  diagnosis, treatment and care of Mr. Erinakes.

          3.     Nevertheless, defendant disregarded its duty as aforesaid and failed to exercise

  said degree of diligence and skill in that it failed to properly diagnose and failed to render


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  adequate, proper, and necessary treatment to Charles H. Erinakes and was otherwise negligent

  in its diagnosis, treatment, and care of him.

          4.      As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

  suffering which ultimately resulted in his wrongful death on June 12, 2015.

          5.      By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

  for medical and nursing treatment and care, medicines, counseling, and the like, which

  damages are remunerable under R.I. Gen. Laws §10-7-5.

          6.      By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

  mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

  which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

  under R.I. Gen Laws §10-7-7.

          WHEREFORE, plaintiff, as Executor of the Estate of Charles H. Erinakes, demands

  judgment against defendant United States of America in an amount sufficient to establish the

  jurisdiction of this Court plus interest and costs and whatever further relief this Honorable

  Court deems appropriate.

                                          COUNT II
                                 LACK OF INFORMED CONSENT
                                 UNITED STATES OF AMERICA

          1.      Count I is hereby incorporated by reference as if set forth fully at length herein.

          2.      It then and there became the duty of defendant United States of America, no

  emergency existing, to inform Charles H. Erinakes of the risks of harm attendant to the

  treatment and care it proposed to administer to and perform upon him so that he could give

  his informed consent to such treatment. It also then and there became the duty of defendant

  to obtain his informed consent before proceeding with said treatment and care.


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         3.      Nevertheless, defendant disregarded its duty as aforesaid and failed to inform

  Charles H. Erinakes of the risks of harm attendant to the treatment and care in question and

  proceeded to perform said treatment and care without having obtained his informed consent.

         4.      If defendant had informed Charles H. Erinakes of the risks of harm attendant

  to the treatment and care in question including, but not limited to, the risk of him suffering

  those injuries from which he suffered as a direct result of defendant’s performance of the

  treatment and care in question, he would have refused to consent to the performance of said

  treatment and care.

         5.      As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

  suffering which ultimately resulted in his wrongful death on June 12, 2015.

         6.      By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

  for medical and nursing treatment and care, medicines, counseling, and the like, which

  damages are remunerable under R.I. Gen. Laws §10-7-5.

         7.      By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

  mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

  which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

  under R.I. Gen Laws §10-7-7.

         WHEREFORE, plaintiff demands judgment against defendant United States of

  America in an amount sufficient to establish the jurisdiction of this Court plus interest and

  costs and whatever further relief this Honorable Court deems appropriate.




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                                         COUNT III
                                    CORPORATE LIABILITY
                                  UNITED STATES OF AMERICA

          1.       Counts I and II are hereby incorporated by reference as if set forth fully at

  length herein.

          2.       It then and there became and was the duty of defendant United States of

  America to provide quality medical care to Charles H. Erinakes, to protect his safety, to protect

  him from incompetent and/or negligent treatment, to ensure that those providing care and

  treatment within its walls were properly credentialed, and to otherwise exercise reasonable care

  for his protection and well-being.

          3.       Nevertheless, defendant negligently disregarded its duty as aforesaid and/or

  failed to promulgate and enforce policies and procedures to insure the delivery of ordinary

  medical care, and/or otherwise failed to discharge its responsibilities as a medical provider to

  Charles H. Erinakes.

          4.       As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

  suffering which ultimately resulted in his wrongful death on June 12, 2015.

          5.       By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

  for medical and nursing treatment and care, medicines, counseling, and the like, which

  damages are remunerable under R.I. Gen. Laws §10-7-5.

          6.       By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

  mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

  which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

  under R.I. Gen Laws §10-7-7.




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          WHEREFORE, plaintiff demands judgment against defendant United States of

  America in an amount sufficient to establish the jurisdiction of this Court plus interest and

  costs and whatever further relief this Honorable Court deems appropriate.

                                         COUNT IV
                                     VICARIOUS LIABILITY
                                  UNITED STATES OF AMERICA

          1.      Counts I through III are hereby incorporated by reference as if fully set forth

  at length herein.

          2.      The United States Veterans Affairs Medical Centers health care providers in

  Rhode Island who treated the Charles H. Erinakes, were employees, agents, apparent agents

  and/or servants of the United States Veterans Affairs Medical Centers and were acting within

  the scope of their employment at all times relevant hereto.

          3.      Defendant was at all relevant times vicariously responsible for the acts of its

  agents and servants, including, but not limited to, the acts of the United States Veterans Affairs

  Medical Centers health care providers as set forth above.

          4.      As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

  suffering which ultimately resulted in his wrongful death on June 12, 2015.

          5.      By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

  for medical and nursing treatment and care, medicines, counseling, and the like, which

  damages are remunerable under R.I. Gen. Laws §10-7-5.

          6.      By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

  mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

  which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

  under R.I. Gen Laws §10-7-7.


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         WHEREFORE, plaintiff demands judgment against defendant United States of

  America in an amount sufficient to establish the jurisdiction of this Court plus interest and

  costs and whatever further relief this Honorable Court deems appropriate.

                                             COUNT V
                                       NEGLIGENCE
                             JOHN/JANE DOE CORPORATION, ALIAS

         1.        Plaintiffs hereby incorporate Paragraphs 1 through 7 as if fully set forth at

  length herein.

         2.        On or about September 2011, defendant John/Jane Doe Corporation, Alias

  undertook for valuable consideration to diagnose, treat, and care for Charles H. Erinakes.

         3.        It then and there became and was the duty of the defendant to exercise that

  degree of diligence and skill required of the average physician engaged in the practice of

  medicine.

         4.        Nevertheless, defendant disregarded his duty as aforesaid and failed to exercise

  said degree of diligence and skill in that he failed to properly diagnose and failed to render

  adequate, proper, and necessary treatment to Charles H. Erinakes and was otherwise negligent

  in his diagnosis, treatment, and care of him.

         5.        As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

  suffering which ultimately resulted in his wrongful death on June 12, 2015.

         6.        By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

  for medical and nursing treatment and care, medicines, counseling, and the like, which

  damages are remunerable under R.I. Gen. Laws §10-7-5.

         7.        By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

  mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of


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  which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

  under R.I. Gen Laws §10-7-7.

            WHEREFORE, plaintiff demands judgment against defendant John/Jane Doe

  Corporation, Alias in an amount sufficient to establish the jurisdiction of this Court plus

  interest and costs and whatever further relief this Honorable Court deems appropriate.

                                       COUNT VI
                              LACK OF INFORMED CONSENT
                           JOHN/JANE DOE CORPORATION, ALIAS

            1.    Count V is hereby incorporated by reference as if set forth fully at length

  herein.

            2.    It then and there became the duty of defendant John/Jane Doe Corporation,

  Alias, no emergency existing, to inform Charles H. Erinakes of the risks of harm attendant to

  the treatment and care he proposed to administer to and perform upon him so that he could

  give his informed consent to such treatment. It also then and there became the duty of

  defendant to obtain Charles H. Erinakes’ informed consent before proceeding with said

  treatment and care.

            3.    Nevertheless, defendant disregarded his duty as aforesaid and failed to inform

  Charles H. Erinakes of the risks of harm attendant to the treatment and care in question and

  proceeded to perform said treatment and care without having obtained his informed consent.

            4.    If defendant had informed Charles H. Erinakes of the risks of harm attendant

  to the treatment and care in question including, but not limited to, the risk of him suffering

  those injuries from which he suffered as a direct result of defendant’s performance of the

  treatment and care in question, he would have refused to consent to the performance of said

  treatment and care.




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         5.        As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

  suffering which ultimately resulted in his wrongful death on June 12, 2015.

         6.        By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

  for medical and nursing treatment and care, medicines, counseling, and the like, which

  damages are remunerable under R.I. Gen. Laws §10-7-5.

         7.        By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

  mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

  which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

  under R.I. Gen Laws §10-7-7.

         WHEREFORE, plaintiff demands judgment against defendant John/Jane Doe

  Corporation, Alias in an amount sufficient to establish the jurisdiction of this Court plus

  interest and costs and whatever further relief this Honorable Court deems appropriate.

                                       COUNT VII
                                  CORPORATE LIABILITY
                            JOHN/JANE DOE CORPORATION, ALIAS

         1.        Counts V and VI are hereby incorporated by reference as if set forth fully at

  length herein.

         2.        It then and there became and was the duty of defendant John/Jane Doe

  Corporation, Alias to provide quality medical care to the Charles H. Erinakes, to protect his

  safety, to protect him from incompetent and/or negligent treatment, to ensure that those

  providing care and treatment within its walls were properly credentialed, and to otherwise

  exercise reasonable care for his protection and well-being.

         3.        Nevertheless, defendant negligently disregarded its duty as aforesaid and/or

  failed to promulgate and enforce policies and procedures to insure the delivery of ordinary


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   medical care, and/or otherwise failed to discharge its responsibilities as a medical provider to

   Charles H. Erinakes.

           4.      As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

   suffering which ultimately resulted in his wrongful death on June 12, 2015.

           5.      By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

   for medical and nursing treatment and care, medicines, counseling, and the like, which

   damages are remunerable under R.I. Gen. Laws §10-7-5.

           6.      By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

   mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

   which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

   under R.I. Gen Laws §10-7-7.

           WHEREFORE, plaintiff demands judgment against defendant John/Jane Doe

   Corporation, Alias in an amount sufficient to establish the jurisdiction of this Court plus

   interest and costs and whatever further relief this Honorable Court deems appropriate.

                                        COUNT VIII
                                    VICARIOUS LIABILITY
                             JOHN/JANE DOE CORPORATION, ALIAS

           1.      Counts V through VII are hereby incorporated by reference as if fully set forth

   at length herein.

           2.      John/Jane Doe Corporation, Alias was an employee, agent, apparent agent

   and/or servant of the defendant and was acting within the scope of his employment at all

   times relevant hereto.




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           3.       Defendant was at all relevant times vicariously responsible for the acts of its

   agents and servants, including, but not limited to, the acts of John/Jane Doe Corporation,

   Alias as set forth above.

           4.       As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

   suffering which ultimately resulted in his wrongful death on June 12, 2015.

           5.       By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

   for medical and nursing treatment and care, medicines, counseling, and the like, which

   damages are remunerable under R.I. Gen. Laws §10-7-5.

           6.       By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

   mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

   which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

   under R.I. Gen Laws §10-7-7.

           WHEREFORE, plaintiff demands judgment against defendant United States of

   America in an amount sufficient to establish the jurisdiction of this Court plus interest and

   costs and whatever further relief this Honorable Court deems appropriate.

                                          COUNT IX
                                         NEGLIGENCE
                                   JOHN/JANE DOE, MD, ALIAS

           1.       Plaintiff hereby incorporates Paragraphs 1 through 7 as if fully set forth at

   length herein.

           2.       On or about September 2011, John/Jane Doe, MD, Alias, by and through its

   agents, actors and employees, undertook for valuable consideration to diagnose, treat, and care

   for Charles H. Erinakes.




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             3.    It then and there became and was the duty of the defendant, by and through

   its agents, actors and employees, to exercise ordinary care in the diagnosis, treatment and care

   of Mr. Erinakes.

             4.    Nevertheless, defendant disregarded its duty as aforesaid and failed to exercise

   said degree of diligence and skill in that it failed to properly diagnose and failed to render

   adequate, proper, and necessary treatment to Charles H. Erinakes and was otherwise negligent

   in its diagnosis, treatment, and care of him.

             4.    As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

   suffering which ultimately resulted in his wrongful death on June 12, 2015.

             5.    By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

   for medical and nursing treatment and care, medicines, counseling, and the like, which

   damages are remunerable under R.I. Gen. Laws §10-7-5.

             6.    By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

   mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

   which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

   under R.I. Gen Laws §10-7-7.

             WHEREFORE, plaintiff demands judgment against defendant John/Jane Doe, MD,

   Alias in an amount sufficient to establish the jurisdiction of this Court plus interest and costs

   and whatever further relief this Honorable Court deems appropriate.

                                           COUNT X
                                  LACK OF INFORMED CONSENT
                                  JOHN/JANE DOE, MD, ALIAS

             1.    Count IX is hereby incorporated by reference as if set forth fully at length

   herein.


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           2.     It then and there became the duty of defendant John/Jane Doe, MD, Alias,

   no emergency existing, to inform Charles H. Erinakes of the risks of harm attendant to the

   treatment and care it proposed to administer to and perform upon him so that he could give

   his informed consent to such treatment. It also then and there became the duty of defendant

   to obtain Charles H. Erinakes’ informed consent before proceeding with said treatment and

   care.

           3.     Nevertheless, defendant disregarded its duty as aforesaid and failed to inform

   Charles H. Erinakes of the risks of harm attendant to the treatment and care in question and

   proceeded to perform said treatment and care without having obtained his informed consent.

           4.     If defendant had informed Charles H. Erinakes of the risks of harm attendant

   to the treatment and care in question including, but not limited to, the risk of him suffering

   those injuries from which he suffered as a direct result of defendant’s performance of the

   treatment and care in question, he would have refused to consent to the performance of said

   treatment and care.

           5.     As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

   suffering which ultimately resulted in his wrongful death on June 12, 2015.

           6.     By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

   for medical and nursing treatment and care, medicines, counseling, and the like, which

   damages are remunerable under R.I. Gen. Laws §10-7-5.

           7.     By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

   mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

   which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

   under R.I. Gen Laws §10-7-7.


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           WHEREFORE, plaintiff demands judgment against defendant John/Jane Doe MD,

   Alias in an amount sufficient to establish the jurisdiction of this Court plus interest and costs

   and whatever further relief this Honorable Court deems appropriate.

                                 DEMAND FOR JURY TRIAL

           Plaintiff hereby demands a trial by jury and designates Amato A. DeLuca as trial

   counsel.

                                                   Plaintiff,
                                                   By his Attorneys,


                                                   /s/ Amato A. DeLuca________________
                                                   Amato A. DeLuca (#0531)
                                                   Christopher E. Hultquist (#5464)
                                                   DeLUCA & WEIZENBAUM, LTD.
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                                                   Providence, RI 02903
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   DATED: July 7, 2016




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